Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 1 of 48

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,

Plaintiff,
3:06 Cr. 211 (CFD)

v.
June 2, 2009
JOHN HOULDSWORTH,

Defendant.

DEFENDANT JOHN HOULDSWORTH’S
SENTENCING MEMORANDUM

Larry Byme, (ctl14295)

Lance Croffoot-Suede, (phv01469)
Ulysses 8. Smith, (us0127)
LINKLATERS LLP

1345 Avenue of the Americas
New York, NY 10105

Tel. 212 903 9000

Fax 212 903 9100

Alex V. Hernandez (ct08345)
Pullman & Comley, LLC

300 Atlantic Street

Stamford, CT 06901-3522

Tel. 203 674 7952

Fax 203 363 8659

E-Mail: ahernandez@pullcom.com

Attorneys for Defendant John Houldsworth
Case 3:06-cr-00211-CFD Document 44 Filed 06/02/09 Page 2 of 48

TABLE OF CONTENTS
Page
TABLE OF AUTHORITIES ooo. ccccccccessecessssesnseeecsesesscesessseeseverrensnepsepeesseneeeseneeteeaseevenrecaeaees ill
I. PRELIMINARY STATEMENT .........cccccccsssssssscsseseserscrsnsccesesesesssaeveecesssecaeseeasssnsaseeseeeassaaes 1
Tl. THE GUIDELINES CALCULATION IS NOT IN DISPUTE 00... ps eeerrserecctereeeenreeeseeet 4
I. MR. HOULDSWORTH’S BACKGROUND AND EXPERIENCE... sees bevseeeeeeeee 5
IV. MR. HOULDSWORTH SHOULD RECEIVE A NON-CUSTODIAL SENTENCE
BASED ON HIS SUBSTANTIAL ASSISTANCE TO THE GOVERNMENT... eu 7
A. Mr. Houldsworth’s Substantial Assistance... cceesseesessesseserserereeseseneseesrsasensenenes 8
1. The Timeliness of Mr. Houldsworth’s Assistance... ccseseessseeceereseneeseerees 8
2. The Significance and Usefulness of Mr. Houldsworth’s Assistance .................. 9
3. The Truthfulness, Completeness, and Reliability of Mr. Houldsworth’s
Information and Testimony... cceesseeceererecseeeeeeneeeeeeenededeeteneerdsidessesecetsaseas 10
a) Mr. Houldsworth’s Trial Testimony Was Unassailable ..0... 10
b) —sInfermation Provided by Mr. Houldsworth... cerca neeceaees 13
4. Consequential Injury Suffered, or Danger or Risk of Injury, to Mr.
Houldsworth or His Family... eee eee ne ee eeenener serene ie 14
B. A Departure to a Probationary Sentence and No Fine Is Authorized by the Guidelines
setessuacsseceseesconeravacecnscacsscacesecssagnscaeysescsceansesessaqesqereesssecasecessseeseeacecesotaveeeaseuscatenseeeeeeaes 16
Y. IF THE COURT IMPOSES A NON-GUIDELINES SENTENCE, A NON-CUSTODIAL
SENTENCE IS APPROPRIATE... cece ceceesceeccseceeraseesssecsecseeusessereessvarseneey seseeaeecesatees 18
A. Mr. Houldsworth’s Personal History and Characteristics, and the Characteristics of
the Offense, Warrant a Non-Custodial Sentence 0... cceccscececcsssseecenseetsserseesssesues 19
1. Mr. Houldsworth’s Personal History and Characteristics ...0....cccscseeseeeeees 20
a) Mr. Houldsworth’s Personal History... ccececccceessceceesnreatsseenseneesaaes 20
bd) Mr. Houldsworth’s Status as a Deportable Alien... cecseeeeneereree 25
2. Mr. Houldsworth’s Acceptance of Responsibility 0.000.000 ee seeeeeessees 29
3. Mr. Houldsworth’s Substantial Assistance to the Government ......... ee 29
4. The Nature and Characteristics of the LPT Fraud... cesses tseseceereetseenes 30
B. A Non-Custodial Sentence Would Promote Respect for the Law, Provide Just
Punishment, and Satisfy the Needs of General and Specific Deterrence _...00.0.0...- 31

1. Promoting Respect for the Law, Rewarding Cooperation, and Providing Just
PUMISHMENE oe cere eeeeereceeeeeeeneeeraseeeeesedceesdepeescdesesssesessesaceeeseresdsereeeeeereatenes 31
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 3 of 48

2. General Deterrence... ccc cecscccccceseererensene sects ssesceeersstssassaessrsseecsseneeeransererse 33
3. Specific Deterrence oe cccssesseersseereneserecneesessssessvenesssaesneseressetssnseneaeerestes 34
C. Probation Is an Available Sentence for Mr. Houldsworth... cccssssssessrersrtenseees 35
D. Sentencing Mr. Houldsworth to a Term of Probation Would Avoid Unwarranted
Sentencing Disparities oo... ce rseeeeersssserseerseseeceeeeentenseceseneneeceseesaareetesnenerstey 36
E. There is No Need to Provide Restitution in this Case oo... cccscssseesssssereeeeenenseeesnees 37
VI FINE. eccccceeceseescsceseceecseseusesevsesseaeenceceserssececcsssseeusaesessnensesscssseaaeesensaasanensestecscaesesseneesensaenanys 37
A. Mr. Houldsworth’s Diminished Income, Earning Capacity, and Financial Resources
Warrant A Sentence of No Fine... cecsceeessenecreeercrnecseresenssssaseneessessnesaesseerersteeees 38
B. The Substantial Burden a Fine Would Impose Warrants A Sentence of No Fine......39
C. The Fact That Mr. Houldsworth Did Not Personally Profit From the Offense
Warrants A Sentence of No Fine 00... cccesseseenscressceerserseseseeseserseesnssseaseneenesssenneneregees 39
D. The Savings Obtained by the Government As a Result of Mr. Houldsworth’s
Cooperation Warrants A Sentence of No Fine ......0.ccseccccseseeeesseeseeseseesaneresseseersaes 39
VIL. CONCLUSION oc cciceseseecessesserecnssesenscressesseessecssssssesecsusnasnsersestenazeusarenesnesasenerneenneageetetees 40

li
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 4 of 48

TABLE OF AUTHORITIES

FEDERAL CASES

Gall v. United States,
128 S.Ct. 586 (2007) oe cece cece eeeceeeeeceeceetececenecssecdesasesesuaasaspevseasnesesasesnarees 18, 33, 36

Kimbrough v. United States,
128 S.Ct, 558 (2007) nee ce ccceececcsscecseaseceseeensceseeaeserserensesacseneesesetseneesveeseressersvates 18, 19,31

Rita v. United States,
127 S.Ct. 2456 (2007). ccc ccccccesscccsceeesensccscceesecsssssseseessacsavaeeeesaeseasesssuasesaseesaes sevetenseenece 18

Simon v. United States,
361 F.Supp.2d 35 (E.D.NVY. 20058) oo eesrecneereerenereenenenareersseerarissasseseensneseenernersseenene a4

United States v. Bakeas,
987 F. Supp. 44 (D. Mass. L997) ones tseseecessnecssseceseneeeeressecererrecestraeesnesseraeeseseaee 27

United States v. BCCI Holdings, $.A.,
3 F.Supp.2d 31 (D.D.C, 1998) eee ec cee cceececeecceceeeeeceeeeenesevecserscaaeasnaeseeevacenseseeaceeeneaees AQ

United States vy, Boscarino,
AIT F.3d 634 (2d Cir, 2006) oon seeceecccecceseeesceseeesesecueecsacacsececesscuensesasaeseeaseesaesaeeeaeeanerseases 32

United States v. Cubillos,
OL P.3d 1342 (9th Cir, 1996) oe ecccsseescessscessessessreesseseeneesssaeeseeecergaeeereosvenseseeenersaes 26, 27

United States v. Davoudi,
172 F.3d 1130 (Gth Cir, 1999) ooo eccessecsceesssnenssrsecsrassstssevsvassensscaaesneneergeeseassisaersensseas 27

United States v. DeRigai,
803 F. Supp. 171 (E.D.N-Y. 1995) ...cccccccssccssssseccecessesssscvusscveceevesssessercessanssrensnessnacsensesteee 40

United States v. Farouil,
124 F.3d 838 (7th Cir, 1997) oes ceececcsesecssessssesnececenersssnesaceecessnaeneesccagteeeeesseseecroseneeenerates 27

United States y. Forchette,
220 F. Supp.2d 914 (B.D, Wis, 2002) oo... eccceesssessscseesesseseeseceeaesateneessnecsneecsascssencesseneenersans 30

United States v.-Gardellini
$45 F.3d 1089, 2008 WL 4889971 (D.C. Cir. Nov. 14, 2008)... cece ccssseceseeneteeetereans is

United States v. John Doe,
79 F.3d 1309 (2d Cir, 1996) onc csecsserseseseecsrsssesserecsssesssesesesesesseesssenseerssseseeenessseasareessess 32

ili
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 5 of 48

United States v. Jones,

531 F.3d 163 (2d Cir. 2008) oo... eccccesssesssceteereescneersneereeessssseesiseessesensenennereneneerserasessers 18

United States v. Losovsky,

571 F.Supp.2d 545 (S.D.N-Y. 2008) oo cecssecesstensseesrserscersceseeeetteceestessessncecsenevesarenses 8, 14

United States v, Myers,

353 F.Supp.2d 1026 (S.D. lowa 2005) oo. cceeseeersesessencensssecenrscseresssseeesceesenenasensenenenes 31

United States v. Restrepo,

999 F.2d 640 (2d Cir, 1993) occ ceeeeeeneeneeesetacressreneneresssesreeesesseesseetassseanenseataneesees 27

United States v, Tanellus,

201 F.3d 439, 1999 WL 1008982 (4th Cir, Nov. 8, 1999) occ cesenereeeeters sesateeees 27
DOCKETED CASES

United States v. Adelson,
2008 WL 5155341 (2d Cir. Dec. 9, 2008). eeeereetseerersesereeseseeesereeeesssesersressaeeaeney 18, 33

United States v, Alatsas,
No. 06-CR-473, 2008 WL 238559 (E.D.N.Y. Jan. 16, 2008)... ec eseeneceeeeereteseeeeeenieen 29

United States v. Carmona-Rodriguez,
No. 04 CR.667, 2005 WL 840464 (S.D.NLY. Apr. 11, 2005) occ seeeseceseeeneenente 34

United States v, Faiella,
No. 06-CR-335, 2008 WL 4862455 (E.D.N.Y. Sept. 8, 2008) oo. ee cssssrerrssesersarenes 17

United States v. Hernandez,
No. 03 CR. 1257, 2005 WL 1242344 (S.D.NLY. May 24, 2005) 0... eecceseseeseereeessenee 34

United States v, Kee,
No. 04 CR. 271, 2005 WL 1162449 (S.D.N.Y. May 13, 2005) oo eee cseeseerereeeerenes 34

United States y. Livesay,
03-CR-182 (NLD. Ala. July 16, 2007) oes eee ccessecensecesseneennersessereeesessenreereseasarernegs 17

United States v. McKillop,
No. 06-CR-336, 2008 WL 4862381 (E.D.N.Y. Sept. 8, 2008) oo. eeeeeessreeceereneeee 16, 29

United States v. Miller,
No, 2:07-cr-90-FTM-29SPC, 2008 WL 697359 (M.D. Fla. Mar. 13, 2008) ww... 29

iv
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 6 of 48

United States y. Morrison,

Nos. 92-10121, 1993 WL 59331 (9th Cir. March 5, 1993) 000s ceeee tees 38

United States y. Munir,

No. 98 CR 60, 1999 WL 1140865 (S.D.NLY. Dec. 13, 1999). ceensseeerressetsetssecenees 17

United States v. Normand,

02 Cr. 1341 (S._D.NLY. Aug. 5, 2005). eee escsseenescerrersererseseareeeeersasserseeaseaeserees 17, 38

United States v. Roberts,

No, Crim. 01-25101, 2002 WL 32341803 (E.D. Pa. Mar. 4, 2002)... acseeererseseresnseees 28

United States v. Smith,

No. 06-CR-173, 2008 WL 4662346 (E.D.NLY. Oct. 28, 2008), eeeeceesseseeerseerees 16, 29

United States v. Springer,

No. 06-CR-334, 2008 WL 4867883 (E.D.N_Y. Sept. 8, 2008) oo... eeeereeeerersereerenens 17

United States v. Wright,

No. 3:CR-04-100, 2008 WL 4722508 (M.D.Pa. Oct. 23, 2008) ove ee ceeeeeeeeeresseeenernes 29

FEDERAL STATUTES

18 USC. § 1227 once ceceeeseceeneeeneeceesseacseneeseneceesaesssacevasnensenetaenssertenerssesennentaassarees 25
18 ULS.C. 8 3553 i ceeccccncesce cece eecee cn eeseeereceecneeseeeceseeeeeerssvenstserensacssescaeensesennaseseneneeness passim

18 ULS.C, § 3559 oe cececceesteccneeeeeseceereesenecsenesscuinsensessnanterseaenstecnseereradedesecsedseuseenseaeanens 36

18 U.S.C. § 3561 oo eeeeeeeeeeee seeesenseeeeesnssnsessesnnnsesennsnncsereennsnsserecisanasececenennasseseesetay 36

18 U.S.C. § 3562 oe seceeereeresreenreereenicesennreseneenrseniensesnerenneennenretnasennesy deevenentenensneseaseeseteays 36

TS ULS.C. § 3571 es eccecceeceecsereeccneesenseneecrsesenecsenecseneensesseaeevserseseeeeressenenereresastetinessdsecees 37

18 U.S.C. § 3572 oo seeccceeececeereenecensecereesenenseceesereseerereereneenaveneaeanrececenendtdessesesseeneesaes 37, 38

18 U.S.C. § 3621 ec ceceecsenensereeseesese seers raeneveeresasseensresareees espesetanantsesntannsnsnnee 26

18 U.S.C. § 3624 ooo eceecesee cena reseseerenereenerecesenseeeeadasenscieadedeeeesseessescaeensssseasensssennens 26

18 U.S.C. § 3642 occ ceeceeetseseneeneeseceeenerarssecereneeseneesersrseeeeteceeereeterseereavseeserniissseseenssesanes 27

18 U.S.C. § 371 ccscscsssessescevssssocseresseseessveesssennsssnssessvnnseesenunnsssseusuasensseeeenecee 4, 5, 25, 36
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 7 of 48

18 U.S.C. 3 4100 cee cre ceeceneeseeesesserssaerseseasnaesersenssssscsarrscsseseusieeseesisereensaeesesisaes 35

18 U.S.C. § 4102 ce ceccerstecsareenerrsteenssurensaressscressasesssercassecueeseesssstensesessssauenerssanensrsgas 35

U)S.E.G. § 2BL ee cccceseeesneeeesasecresareerssseseresssssannaneeeessersssereserusssnseneeseraterrenriss 4, 5,30

US.S.G. § SEL 2 occ cccssssseesarenenseessssnennnescevesasaeseperescensarcasesensaeesdaesegeeeoneisecarensens 16, 39

USSG. 3 SGI eee reseenersesreeneesssarasenerecsscnraseeresinescensaseacssaevesaesissssserenssenrenessereseraas 3
MISCELLANEOUS

Arthur Beesley, “Guilty plea move results in Cologne Re sacking,” Irish Times,
Jue 8, 2005 cece ces ecceseeseteetesseeensceeeeeenenneenaes ceeeevseesauseeesecuacsaeeeeecassisecesneeenseenes 24

Arthur Beesley, “Cologne Re chief ‘created false documents’ ~ US lawsuit,” Insh
Times, May 27, 2005.00.00. sececdetecsaseeseeectseeCansecnsasedenaaecercaeceseasersssevensesavestasaeeeusevaeneanenes 24

' Brad Heath, “Immigration Courts Face Huge Backlog,” USA Today, March 29,
ZOD oe ecccccsesaeeececcsssesceseeseseseeecbansesseecenscessesssssedeensesecsessssescesecensecseeeesesanersessenseeeases 26

Justin O’Brien, “After hubris always comes catastrophe,” Irish Times, Feb. 09,
ZOD occ ccsssceseseceeceeseesecsscaeuecaceaceateseeeetsaeesene dacessacsesueesssssacsceseesssesseneraasesessesseesarseses 24

vi
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 8 of 48

DEFENDANT JOHN HOULDSWORTH’S
SENTENCING MEMORANDUM

Defendant, John Houldsworth, by his attorneys, respectfully submits this
Sentencing Memorandum (the “Memorandum”) and attached exhibits to assist the Court in
determining his sentence at the hearing currently scheduled for June 16, 2009. For the reasons
set forth below, the defendant respectfully urges the Court to grant the government’s anticipated
motion for a downward departure pursuant to United States Sentencing Guidelines (U.3.8.G.)
§ 5K1.1, or to grant the defendant’s request for a non-Guidelines sentence, and impose a
sentence of one year probation with no fine. |

I. PRELIMINARY STATEMENT

On June 16, 2009, this Court will sentence Mr. Houldsworth for his conduct in
connection with the fraudulent Loss Portfolio Transfer (the “LPT”) between General
Reinsurance (“Gen Re”) and American International Group (“AIG”). This Court has already
recognized the seriousness of the LPT fraud by imposing custodial sentences on Mr.
Houldsworth’s co-conspirators, Ronald Ferguson, Christian Milton, Elizabeth Monrad, Robert
Graham, and Christopher Garand, of 2 years, 4 years, 1 and a half years, 1 year and a day, and i
year and a day, respectively.

_ On the one hand, Mr. Houldsworth’s personal history and characteristics are
similar to that of his co-conspirators in a number of respects: he is a first time offender, he was
not motivated by personal financial gain in participating in the LPT fraud and profited nothing
from it; he is a devoted husband and family man and a valued member of his community; and
there is no chance that he will engage in this type of criminal conduct in the future. It was

principally for these reasons that the Court imposed non-Guidelines sentences on Mr.
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 9 of 48

Houldsworth’s co-conspirators that were substantially below the imprisonment ranges called for
by the United States Sentencing Guidelines (the “Guidelines”).

On the other hand, Mr. Houldsworth’s personal trajectory diverged sharply and
irrevocably from that of his co-conspirators in the spring of 2005 when he took personal
responsibility for his actions and admitted his mistakes. In his first meeting with the
government, he informed the government of the essential elements of the LPT, including the no-
risk nature of the transaction, and the various fraudulent payments that resulted in a $5.2 million
net payment to Gen-Re. He also admitted that the offer letters he had drafted were false and that
the LPT was deceptive and wrong.

Shortly. after that first meeting, Mr. Houldsworth accepted full responsibility for
his actions by pleading guilty to the charges against him. He pled guilty even though he was an
English citizen who lived and worked in Ireland and had no concrete ties to the United States,
giving him the considerable legal option of forcing the government to attempt to extradite him
from Ireland and to try and convict him. Instead, Mr. Houldsworth flew from Ireland to
Virginia, and became the first defendant to plead guilty in this case. By pleading guilty, he
demonstrated his respect for the law, even though that law was foreign to him.

For the three years between his guilty plea and the end of the tnal of his co-
conspirators, Mr. Houldsworth provided continual, substantial, and extraordinary assistance to
the government in its prosecution of his co-conspirators. The principal form of his cooperation
was his lengthy and powerful testimony at trial, which the Court witnessed. That testimony was
the culmination of hundreds of hours spent in meetings with the government (which Mr.
Houldsworth estimated at the trial accounted for almost 35 days’ worth of meetings), and

hundreds of additional hours listening to the hundreds of tape recordings made of his
Case 3:06-cr-00211-CFD Document 44 Filed 06/02/09 Page 10 of 48

conversations. Among other things, Mr. Houldsworth became the government’s de facto expert
on reinsurance, and specifically finite remsurance. He labored patiently to explain to the
government and the jury the insurance and accounting concepts that were at the core of the
government’s case, including the limits of those concepts. Mr. Houldsworth also spent hundreds
_of hours correcting the transcripts of the recordings that the government created, provided to the
defense, and used at trial. In essence, Mr. Houldsworth.acted as expert and fact witness.

While cooperating, Mr. Houldsworth’s primary concern was to present an
accurate account of his actions. Mr. Houldsworth always was mindful that he should portray
events solely as he remembered them. From his first meeting with the eovernment in 2005 until
he left the witness stand in 2008, Mr. Houldsworth portrayed his former colleagues at Gen Re as
people who did something they should not have with respect to the LPT, while representatives of
those individuals portrayed him during the trial as the sinister cause of their predicament. Mr.
Houldsworth’s mantra throughout the difficult process was to tell the truth, and to trust that the
United States judicial system would fairly and justly judge him and his former colleagues based
solely upon the facts.

During the three years Mr. Houldsworth cooperated with the government prior to
the trial, he was forced to confront, again and again, the mistakes he had made. He was forced to
re-live the decisions that had cost iim his job and his good name, that had caused great pain to
his family, and that he knew may eventually cost him his freedom. In short, he was forced to
examine himself, and the person who emerged from that process of self-examination was the one

6

who appeared at trial — a person with no urge to minimize his role or deflect blame to others.
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 11 of 48

While Mr. Houldsworth is undoubtedly a good man, as exhibited by the 36 letters
submitted to this Court on his behalf by his friends, family, and colleagues,’ it is principally
because of his acceptance of responsibility, his now demonstrated respect for the law, and his
_ extraordinary assistance to the government, that we respectfully request that the Court impose a
non-custodial sentence.

If the Court decides to impose a Guidelines sentence, we respectfully submut that
a downward departure is appropriate based on Mr. Houldsworth’s substantial assistance to the
government, and that the Court should impose a probationary sentence. If the Court decides to
impose a non-Guidelines sentence, we believe that the same result — a non-custodial sentence ~ is
appropriate. Indeed, the Probation Office, in its presentence report, makes clear that a non-
custodial sentence would be appropriate for Mr. Houldsworth. We understand that while the
government will not recommend that the Court impose a particular sentence on Mr.
Houldsworth, the government is not seeking a term of incarceration. In short, Mr.
Houldsworth’s life history, his conduct in this case and toward the parties to this proceeding, all
support a non-custodial sentence, whether pursuant to a Guidelines departure or to the imposition
of a non-Guidelines sentence.

il. THE GUIDELINES CALCULATION IS NOT IN DISPUTE

Mr. Houldsworth agrees with the findings of the Probation Office with respect to
the Guidelines calculation im the presentence report (as amended) (“PSR”). Absent any
departure, Mr. Houldsworth’s Guidelines sentence is 60 months. The base offense level for 18
U.S.C. § 371 is found in § 2B1.1 of the Guidelines, which provides for a base offense level of 7.

Based on this Court’s Ruling on Loss Calculation, Victim Enhancement, and Restitution on

Copies of the letters-are attached to this memorandum as Exhibits | — 36 and are ordered alphabetically by
author’s last name.
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 12 of 48

October 31, 2008 (the “October 31 Ruling”), there is a 30 level increase based on a loss of over
$400,000,000 under § 2B1.1(b)(1)(P). In addition, based on the Court’s October 31 Ruling, a 6
level increase is warranted because the offense involved more than 250 victims pursuant to

§ 2B1.10b)(2)(C). Finally, there is an additional 2 level enhancement because the offense
involved sophisticated means under § 2B1.1(b)(8)(c). Mr. Houldsworth’s acceptance of
responsibility entitles him to a reduction of 3 levels under § 3E1.1. Thus, his total offense level
is 42.

As a first-time offender, Mr. Houldsworth has no criminal history points, resulting
in a Criminal History Category I. Because the intersection of Offense Level 42 and Criminal
History Category I yields an imprisonment range which exceeds the statutory maximum 60
month term of imprisonment permitted by 18 U.S.C. § 371, his Guidelines imprisonment range is
the statutory maximum, five years. See U.S.8.G. § 5G1.1 (a) (“Where the statutorily authorized
maximum sentence is less than the minimum of the applicable guideline range, the statutorily
authorized sentence shall be the guidelines sentence.”).

TI. MR, HOULDSWORTH’S BACKGROUND AND EXPERIENCE

John Bryan Houldsworth was born on February 9, 1959, in Dartford, England to
his parents, Bryan and Margaret Houldsworth.’ Mr. Houldsworth’s father worked as a forei on
service officer in the British government, which meant that Mr. Houldsworth and his two
younger siblings, David and Sue, spent their childhood in transit, including stops in Nigeria;
Uganda; and Rye, New York.

Mr. Houldsworth attended a boarding school in Yorkshire, England, from which

he graduated in 1977. He proceeded to study at Liverpool University in Liverpool, England,

Additional information related to Mr. Houldsworth’s background and personal characteristics is contained
in Section V(A}(1)(a), infra.
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 13 of 48

where he received an undergraduate degree in Commerce, with honors, in 1980. After
graduating from Liverpool University, Mr. Houldsworth began his professional life by working
as an accountant for Deloitte Haskins (the predecessor of Deloitte Touche Tohmatsu) in
Liverpool. In 1983, Mr, Houldsworth became certified as a chartered accountant in England,
which is the equivalent of a Certified Public Accountant in the United States. In 1984, he moved
to Bermuda to work for KPMG as a senior auditor. In 1988, Cologne Reinsurance (“Cologne
Re”), a German reinsurance company, offered him a position as Chief Financial Officer in its
four-person Bermuda office.

It was in Bermuda that Mr. Houldsworth met his future wife, Ruth. He married
Ruth on June 17, 1988, and the two moved to Dublin, Ireland in 1990 to start a family. In 1990,
Cologne Re offered Mr. Houldsworth a position as Chief Executive Officer of a new four-person
outpost in Dublin, which became known as Cologne Re (Dublin) or CRD and which grew to be a
25-person operation. In 1998, Mr. Houldsworth also became the Chief Underwriting Officer for
Alternative Solutions, a business unit of Cologne Re’s corporate parent Gen Re. While in
Ireland, Ruth and John were blessed with their three children, Nicholas, age 18, Alice, age 15,
and Victoria, age 13. Each of the Houldsworth children attends school in Dublin.

On June 6, 2005, CRD terminated Mr. Houldsworth’s employment immediately
after it learned that he had entered into a plea agreement in this case. (Trial Tr., Ex. 37, at
2150:5-7.*) As the sole financial supporter of the family, however, Mr. Houldsworth was
determined to find work to support his family. From August 2005 until December 2005, he
worked as a consultant for Trinergy, an Irish firm that builds, manages, and invests in wind

farms. In gaining employment with Trinergy, Mr. Houldsworth revealed in full the nature and

Pages excerpted from the transcript of the trial United States of America v. Ronald E. Ferguson, et al., are
attached to this memorandum as Exhibit 37.

Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 14 of 48

potential consequences of this criminal proceeding against him in the United States. Trinergy
nevertheless valued Mr. Houldsworth’s contributions and allowed him flexibility in his schedule
to travel to the United States to meet with the government repeatedly during his employment.

in December 2005, as a trial of his co-conspirators appeared imminent, Mr.
Houldsworth left his consultancy position with Trinergy and spent just over a year at home with
his family. During this time, he was forced to borrow money from his siblings to cover his
family’s living expenses. Despite the financial strain his unemployment caused, Mr.
Houldsworth believed that spending as much time with this family as possible was essential,
especially given his potential incarceration in the United States.

After a year passed and the trial of his co-conspirators continued to be delayed,
Mr. Houldsworth searched for and eventually found employment in April 2007 at Charles
McCann Investments, which is a private company based in Dublin. Currently, Mr. Houldsworth
works as a financial controller for Charles McCann Investments, a wealth management company
devoted to managing the McCann family’s private wealth in Dublin. As he did with Trinergy,
Mr. Houldsworth has informed his current employer of the criminal charges pending against him
in the United States. His employer has been very supportive of him during this difficult period,
even allowing him a leave of absence during the weeks he spent in Hartford preparing for, and
testifying in, the trial of his co-conspirators.

IV. MR. HOULDSWORTH SHOULD RECEIVE A NON-CUSTODIAL SENTENCE
; BASED ON HIS SUBSTANTIAL ASSISTANCE TO THE GOVERNMENT

Guidelines Section 5K.1.1 provides that when a defendant provides substantial
assistance to the government in the investigation and prosecution of another, the sentencing court
may, upon motion by the government, depart downward from the Guidelines sentencing range.

The defendant anticipates that the government will file a motion for a downward departure
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 15 of 48

pursuant to Guidelines Section 5K1.1 and respectfully urges the Court to grant the government’s
motion.

Where, as here, Mr. Houldsworth has provided substantial and exceptional
assistance to the government, the defendant respectfully submits that the sentencing court should
impose a non-custodial sentence to reflect the defendant’s cooperative efforts. In any event, the
Court should grant Mr. Houldsworth a significant departure from the Guidelines sentence of five
years based on the assistance he has rendered to the government. Cooperation is rewarded by

courts because it is vital to the criminal justice system. See United States v. Losovsky, 571 F.

Supp. 2d 545, 546-47 (S.D.N.Y. 2008) (“Indisputably, cooperators play a vital role in the
Government’s law enforcement efforts. Their assistance provides the Government with a
powerful means to solve crimes and thereby to promote justice for the offenders, their victims
and the larger society.””).

For the reasons that follow,’ the defendant respectfully submits that a non-.
custodial sentence of one year probation, with no fine, is a wholly appropriate sentence.

A. Mr. Houldsworth’s Substantial Assistance
1. The Timeliness of Mr. Houldsworth’s Assistance

Mr. Houldsworth was the first defendant in this matter to plead guilty and the first

to cooperate.° Mr. Houldsworth did so at the earliest possible stage of the investigation, just

Section 5K 1.1(a) of the Guidelines sets forth the following five bases upon which a court may decide to
reduce a defendant’s sentence pursuant to such a motion for a downward departure by the government: (1)
the significance and usefulness of the defendant's assistance; (2) the truthfulness, completeness, and
reliability of any information or testimony provided by the defendant; (3) the nature and extent of the
defendant’s assistance; (4) any injury suffered, or any danger or risk of injury to the defendant or his
family; and (3) the timeliness of the defendant’s assistance. Guidelines § 5K.1.1(a). The order in which
these five reasons are discussed below does not reflect the order in which these reasons are laid out in the
statute.

The issue of Mr. Houldsworth’s fine is discussed in Section VI below.

Richard Napier entered a plea agreement on June 7, 2005, several days after Mr. Houldsworth, and pled
guilty the day after Mr. Houldsworth, on June 10, 2005.
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 16 of 48

weeks after being contacted by the government. The fraud in this case was complex and spanned
continents. Under the circumstances, it would not have been unreasonable for him and his
counsel to delay, dither, or demur when deciding whether to cooperate. Thus, the defendant
respectfully submits that the speed with which Mr. Houldsworth renounced his criminal conduct
and committed to cooperating with the government supports his request for a non-custodial
sentence.

2. The Significance and Usefulness of Mr. Houldsworth’s Assistance

The defendant anticipates that the government’s 5K1.1 motion and accompanying

memorandum will detail the significance and usefulness of Mr. Houldsworth’s assistance to the
‘government. However, the defendant offers the following observations.

During his proffer sessions with the government, Mr. Houldsworth provided
exceptional assistance to the government in its prosecution of his co-conspirators in a variety of
ways. He acted as a de facto expert on insurance, reinsurance, finite insurance, accounting, and
related issues. Mr. Houldsworth lent his considerable expertise to government representatives
for assistance in determining the appropriate terminology and understanding the terms of the
contracts at issue. Mr. Houldsworth also was consulted regarding the proper interpretation of
insurance and reinsurance principles. Indeed, the government arguably did not need an expert
witness on reinsurance or finite reinsurance to explain loss portfolio transfers, such as the LPT,
at trial, because Mr. Houldsworth was able to explain the elements of reinsurance contracts such
as the LPT.

As the government witness most familiar with the LPT, Mr. Houldsworth
provided invaluable assistance to the government by explaining its terms and features. Just as
important, Mr. Houldsworth explained the six reinsurance transactions underlying the LPT,

which were listed on “Schedule A” to the LPT. Each of these transactions was itself much more
Case 3:06-cr-00211-CFD Document 44. Filed 06/02/09 Page 17 of 48

complicated than the LPT. Mr, Houldsworth assisted the government in coming to a full
understanding of some of these. transactions. Mr. Houldsworth also assisted the government in
establishing that the LPT did not result in the transfer of real risk from Gen Re to AIG. By
demonstrating for the government how and why the six underlying reinsurance contracts, as
transferred to AIG through the LPT, did not contain adequate risk to meet the accounting
requirements for risk transfer, Mr. Houldsworth helped the government establish a fundamental
element of its case — that the LPT did not transfer risk to AIG. indeed, despite the complex
nature of the underlying transactions to the LPT, the defense at trial was not able to cast doubt
upon Mr. Houldsworth’s explanation of why the LPT could not have transferred real risk to AIG.

When Mr. Houldsworth was not meeting with the government in the United
States, he was still providing valuable cooperation. While at home in Ireland, he devoted
countless days to listening to the hundreds of tape recordings made of his conversations, both to
refresh his recollection in anticipation of his trial testimony and in response to specific questions
from the government. In addition, he spent hundreds of hours correcting, line by line, the
transcripts of the tape recordings that the government created, provided to the defense, and
ultimately used at trial.

The principal form of Mr. Houldsworth’s cooperation, however, was the truthful,
complete, and thoroughly reliable testimony he gave during eight days of trial, which the Court
witnessed.

3. The Truthfulness, Completeness, and Reliability of Mr. Houldsworth’s
Information and Testimony

a) Mr. Houldsworth’s Trial Testimony Was Unassailable

The jury’s verdicts finding each of the trial defendants guilty beyond a reasonable

doubt of a complex international fraud bear witness to the truthfulness, completeness, and

10
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 18 of 48

reliability of Mr. Houldsworth’s testimony — testimony that was aggressively cross-examined by
many experienced trial counsel.

Without reciting all of Mr. Houldsworth’s important testimony, we draw the
Court’s attention to a number of the key attributes of his testimony.

First, Mr. Houldsworth’s testimony was entirely trathful and was fully
corroborated by the contemporaneous recordings of his telephone conversations, by business
records and other documents, and by the testimony of other trial witnesses. Notably, he hid
nothing and protected no one, including himself. Both on direct and cross-examination, he
admitted that his actions in connection with the LPT were wrong and illegal. (Trial Tr., Ex. 37,
at 2250-51.)

Second, Mr. Houldsworth’s testimony established, in a precise and unwavering
form, many of the essential facts that the government needed to prove its case at trial.

e The defendants and other co-conspirators structured a deal, undertaken through
two contracts, through which AIG appeared to reinsure Gen Re. (Trial Tr., Ex.

37, at 2143-45.)

e The deal appeared to provide for AIG to reinsure Gen Re for up to $600 million in
limit of liability in exchange for $500 million of premiums. (Trial Tr., Ex. 37, at

2144.)

« AIG appeared to take on $100 million in risk through the deal; in fact, however,
there was no risk transferred to AIG. (Trial Tr., Ex. 37, at 2256, 2284, 2292-93.)

e The LPT itself had no financial benefit to Gen Re, but, through a separate, secret
side deal, AIG paid Gen Re $5 million to undertake the transaction and repaid
Gen Re for the $10 million in premium it paid under the written contracts. (Trial
Tr., Ex. 37, at 2144-45:25-2 (*. .. the $10 million we were going to pay AIG, we
would have to get that paid back plus an actual fee for doing the deal.”), 2253-56.)

¢ In addition to the fact that the LPT contained no risk, Gen Re and AIG struck a
secret side deal that rendered the LPT no-risk for AIG. Mr. Houldsworth testified
that when he drafted the terms of the written contracts, he knew that AIG did not
want to incur any losses from the transaction. (Trial Transcript, Ex. 37, at 2139-
40, 2142.) Because of this, although Mr. Houldsworth’s draft contracts appeared

11
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 19 of 48

to transfer risk to AIG, a separate oral agreement ensured that AIG would not be
charged for any losses under the contracts. (Trial Tr., Ex. 37, at 2144:22-25 (“{I]f
we had those hundred million of losses, we weren’t going to be charging AIG.
That wasn’t with my understanding of what we wanted to do.”).)

e No one from AIG ever asked Gen Re for the documents necessary to conduct an
actuarial analysis of the risk associated with the $500 million of contracts Gen Re
ostensibly ceded to AIG through the deal, strongly implying that those at AIG
familiar with the transaction knew that, despite the written terms of the deal, it
entailed no risk for AIG. (Trial Tr., Ex. 37, at 3426-38.)

e Mr. Houldsworth explained that he did not include these additional terms in the ~
written contracts in order to maintain the appearance of risk transfer through the
transaction so that AIG could account for the deal as reinsurance, thereby
boosting its loss reserves, and to conceal the unusual fact that AIG was paying
Gen Re to do the deal. (Trial Tr., Ex. 37, at 2145:8-12 (“{I]fI put them in there it
wouldn’t look like a reinsurance contract. And obviously the intention from what
the start was, they were going to have a piece of paper that would allow them to
book that contract as a reinsurance deal which has to have risk transfer.”’).)

e AIG pursued the no-risk reinsurance deal with Gen Re to inflate artificially AIG’s
loss reserves to quell industry analysts’ concerns that the company’s loss reserves
were declining during a period of premium growth. (Trial Tr., Ex. 37, at 2139:5-6
(“She [Ehzabeth Monrad} said [the transaction] was to appease some analysts
who had concerns over AIG’s third quarter [2000] numbers.”), 2179-80.)

e The defendants and their co-conspirators reinforced the appearance of a legitimate
remsurance transaction by creating a fake offer letter through which Gen Re

falsely appeared to solicit the deal from AIG. (Trial Tr., Ex. 37, at 2373:2-8 (Q:

“Was that paper trail that you were planning to prepare going to be true or false?”

A: “lt was going to be false.” Q: “And in what way?” A: “Well, it was going to

make it appear that we were offering them the contract, whereas in fact they’d

actually asked for it.”), 2377-84.)

Finally, Mr. Houldsworth’s testimony enabled the government to make the most
use of the audio tapes of his conversations. He explained what he meant in those conversations,
what he perceived others to mean, and placed the conversations in their proper context. While
the tapes were extraordinarily powerful evidence of the culpability of the defendants, without

Mr. Houldsworth’s testimony, the government may have had difficulty introducing them into

evidence and the tapes likely would not have as effectively advanced the government’s narrative.

12
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 20 of 48

b) Information Previded by Mr. Houldsworth

On June 9, 2005, after pleading guilty, Mr. Houldsworth spent the afternoon in a
proffer session with the government explaining the LPT transaction. That was the first of many
proffer sessions. As Mr. Houldsworth testified at the trial, he spent 35 days (over 200 hours) in
meetings with representatives of the government over the course of two and a half years, literally
from the day he pled guilty until the day he was called to testify. (Trial Tr., Ex. 37, at 2658-59.)

Mr, Houldsworth’s assistance was instrumental to the government’s investigation
of the LPT fraud, which involved not just the five defendants who were convicted at trial, but the
companies involved, AIG and Gen Re, and many other individuals and entities. His assistance
_ Was significant in part because he was highly knowledgeable about the LPT transaction, but also
because he was knowledgeable about reinsurance and, more particularly, finite reinsurance. His
trial testimony, which resulted in a verdict against all five defendants on all counts, arguably
could not have been more useful to the government.

The nature and extent of Mr. Houldsworth’s testimony was exceptional by any
measure. His eight days of trial testimony formed the very heart of a case brought against senior
executives of two of the largest insurance companies in the world, which had committed a $600
million fraud. While Mr. Houldsworth’s eight days of trial testimony alone may be considered
extensive, his testimony represented the culmination of years of cooperation with the
government as detailed above.

At the trial, Mr. Houldsworth was forthcoming about the fact that his actions in
connection with the LPT were wrong. (Trial Tr., Ex. 37, at 2250-51.) In addition, at trial, he
readily admitted that during his first interview with the government he had lied about whether he
believed that AIG would account for the LPT as risk reinsurance. (Trial Tr., Ex. 37, at 2602.)

At trial, he did not even attempt to defend himself by pointing out that he had admitted to all the

13
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 21 of 48

other aspects of the LPT fraud in that first interview; he did not minimize his conduct. In
addition, at trial, Mr. Houldsworth admitted that he engaged in a dishonest, and completely
unrelated, transaction in Australia and sent, through other counsel, two misleading letters to an
Australian regulator in 2005 with respect to that transaction. (Trial Tr., Ex. 37, at 2599-2601."

4, Consequential Injury Suffered, or Danger or Risk of Injury, to Mr.
Houldsworth or His Family

Mr. Houldsworth’s cooperation and assistance to the government came at a
significant price to himself and his family. Cooperation with the government required him to
spend substantial periods of time away from his family. In addition, his agreement to plead
guilty and cooperate with the government has cost him his job (and his retirement account), has
subjected him to multiple civil suits in the United States and to humiliation in the press in the
United States and in Ireland, and has permanently branded him with a felony conviction. As the

district court observed in United States v. Losovsky, “ordinarily the aid cooperators render

comes at a heavy personal price. They may open themselves to prosecution for additional
criminal activities they disclose that the Government might not otherwise uncover. Frequently,
they place at risk their own liberty, security and safety, and endanger close family and other
interests as well.” 571 F. Supp. 2d 545, 546-47 (S.D.N.Y. 2008).

The factors enumerated in Losoysky are all present in Mr. Houldsworth’s case
and to an exceptional degree. The high-profile nature of this case magnified the scrutiny to

which he and his family were subjected. There also existed the constant threat of derision and

7 Although he never volunteered this information at trial, it was Mr. Houldsworth who brought these letters

to the government's attention and produced them for the government, which, in tum, produced them to the
defense.

14
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 22 of 48

ostracism. Because he is a private family man, Mr. Houldsworth’s exposure to regular scrutiny
in the international press was particularly difficult for him and his family.*

In addition, Mr. Houldsworth overcame real world obstacles in order to cooperate
with the government; and the circumstances under which he cooperated were extraordinary and
worthy of further consideration by this Court. Because he is a foreign national who lives in
Ireland, Mr. Houldsworth faced significant challenges just to meet with the government. For
each meeting, he had to leave his family and his job in Ireland and travel to the United States,
usually for a week or longer. Because these sessions occurred after Mr. Houldsworth had pled
guilty to a felony, he had lost his immigration status under the United States’ visa-watver
program and was detained by immigration enforcement officials each time he arrived in the
United States. On several occasions, he was detained upon arrival for hours by immigration, was
told that he would be sent back to Ireland or detained indefinitely. Eventually, he was allowed
into the country on the condition that he surrender his passport, which was impounded.
(Fortunately, government prosecutors were persistent in their efforts to facilitate his entry, which
became somewhat less harried upon each subsequent trip.)

Mr. Houldsworth’s substantial assistance, detailed above, presents a situation that
is outside the heartland of those situations in which defendants typically cooperate. In light of
Mr. Houldsworth’s extraordinary assistance to the government and the personal hardships that
Mr. Houldsworth and his family experienced in furthering the government’s prosecution of this
case, his similarly extraordinary acceptance of responsibility and absence of a criminal record,
the defense respectfully requests that the Court amply reward Mr. Houldsworth’s efforts with the

imposition of a non-custodial sentence.

8 Additional information related to Mr. Houldsworth’s exposure to press coverage is contained in Section

V(A)G)@), infra.

15
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 23 of 48

B. A Departure to a Probationary Sentence and No Fine Is Authorized by the
Guidelines

For the foregoing reasons, a downward departure is warranted that reduces Mr.
Houldsworth's total offense level to 8 or lower, for which the Guidelines assign a sentencing
range of 0 to 6 months and a fine range of $1,000 to $10,000.? Pursuant to Guidelines sections
5B1.1 and 5B1.2, such a sentence may be satistied by a term of probation of at least one year.
Indeed, a number of courts in the Second Circuit and elsewhere have departed from a Guidelines
sentence of five years (and in some cases, much longer sentences) to a probationary sentence
under circumstances similar to those here.

For example, in United States v. Smith, No. 06-CR-173 (IBW), 2008 WL

4662346, at *1 (E.D.N.Y. Oct. 28, 2008), the sentencing court departed from the Guidelines
imprisonment range of 235 and 240 months to five years probation, 500 hours community
service and a $100,000 fine for a defendant who conspired to commit mail fraud in light of the
defendant’s substantial assistance and his absence of a criminal record.

In United States v. McKillop, No. 06-CR-336 (BW), 2008 WL 4862381, at *1

-(E.D.N.Y. Sept. 8, 2008), the sentencing court departed from the Guidelines imprisonment range
of 210 to 240 months to five years probation, 250 hours community service and a $10,000 fine
for a defendant who conspired to commit mail fraud based primarily on defendant’s substantial
assistance, absence of a criminal record, and because defendant “did not receive any personal

gain from the instant offense other than her ability to keep her job.”

The issue of Mr. Houldsworth’s fine is discussed in Section VI, infra. The defense points out here only
that, pursuant to Guidelines section 5E1.2, when the defendant shows that he is unable to pay and is not
likely to become able to pay a fine, a fine need not be imposed by a court imposing a sentence under the
Guidelines, U.S.8.G. § 5E1.2(a). In Section VI, infra, the defense details the financial difficulties
confronting the Houldsworth family and the hardship that a monetary fine would impose on them.

16
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 24 of 48

In United States v. Faiella, No. 06-CR-335 (IBW), 2008 WL 4862455, at *1
(E.D.N.Y. Sept. 8, 2008), the sentencing court departed from the Guidelines imprisonment range
of 151 to 188 months imprisonment for a defendant who conspired to commit mail fraud to five
years probation and 500 hours community service based on substantial assistance and the
absence of a criminal record.

In United States v. Springer, No. 06-CR-334 BW), 2008 WL 4867883, at *1

(E.D.N.Y. Sept. 8, 2008), the sentencing court departed from the Guidelines imprisonment range
of 210 to 240 months for a defendant who conspired to commit mail fraud to five years probation
and 500 hours community service based on substantial assistance and the absence of a criminal
record.

In United States v. Munir, No. 98 CR 60 (RWS), 1999 WL 1140865, at *1

(S.D.N.Y. Dec. 13, 1999), the sentencing court departed downward for a defendant who pled
guilty to conspiracy to commit bank fraud and bank fraud to one year of probation based on the
defendant’s substantial assistance, acceptance of responsibility, and the absence of a criminal
record,

Furthermore, in other high-profile securities fraud cases involving substantially
larger loss amounts with even more severe consequences to shareholders, such as the WorldCom
and HealthSouth cases, courts have departed from the Guidelines to impose non-custodial
sentences with no fine or a substantially reduced fine on key cooperating witnesses. See, e.g.,

United States v. Normand, 02 Cr. 1341 (BSJ), at 12 (S_D.N.Y. Aug. 5, 2005) (sentencing

WorldCom cooperator to three years probation, no fine, and special assessment of $200); United

States v. Livesay, 03-CR-182 (KOB), at 38 (N.D. Ala. July 16, 2007) (resentencing HealthSouth

17
‘Case 3:06-cr-00211-CFD Document 44 Filed 06/02/09 Page 25 of 48

cooperator to five years’ probation, six months’ home detention, a $10,000 fine, and special
assessment of $200).

Vv. IF THE COURT IMPOSES A NON-GUIDELINES SENTENCE, A NON-
CUSTODIAL. SENTENCE IS APPROPRIATE

The Supreme Court’s decisions in Booker, Gall, and Kimbrough, have given this

Court broad discretion, after considering all of the factors under section 3553(a), including the

advisory Guidelines, to impose a sentence outside the Guidelines. See Kimbrough v. United
States, 128 S. Ct. 558, 570 (2007). This Court’s sole statutory mandate is to “‘impose a sentence
sufficient, but not greater than necessary’ to accomplish the goals of sentencing” under

§ 3553(a)(2). Id. (quoting 18 U.S.C. § 3553(a)). The goals of sentencing are to provide just

punishment, adequate deterrence, incapacitation, and rehabilitation. See Rita v. United States,

127 8. Ct. 2456, 2463 (2007). In doing so, courts “may not presume that the Guidelines range is

reasonable.” Gall v. United States, 128 S. Ct. 586, 596-97 (2007). To the contrary, “courts may
vary from the Guidelines ranges based solely on policy considerations, including disagreements
with the Guidelines.” Kimbrough, 128 8. Ct. at 570 (citation and alteration marks omitted);

accord United States v. Jones, 531 F.3d 163, 172 (2d Cir. 2008).

The “central teaching of Gall is that the Guidelines are truly advisory.” United vy,

Gardellini, 545 F.3d 1089, 2008 WL 4889971, at *5 (D.C. Cir. Nov. 14, 2008). This Court does
not need to cite “extraordinary” reasons to justify a non-Guidelines sentence, nor must it offer a

justification “proportional!” to the extent of any variance. See Gall, 128 S. Ct. at 594-95, 596;

Jones, 531 F.3d at 171-72; see also United States y, Adelson, 2008 WL 5155341, at *5 (2d Cir.
Dec. 9, 2008) (““[D]istrict court decisions, if adequately explained, should be re-viewed
especially deferentiaily [in financial fraud cases].’”) (citations omitted). Rather, this Court is at

liberty, after considering the Guidelines, to disagree with the Guidelines, and to impose its own

18
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 26 of 48

sentence that is sufficient, but not greater than necessary, to serve the purposes of sentencing.
Kimbrough, 128 8. Ct. at 570.

When sentencing a defendant, a district court must consider all sentencing factors
enumerated in 18 U.S.C. § 3553(a). Kimbrough, 128 5. Ct. at 570. Those factors are:

(1) the nature and circumstances of the offense and the history and characteristics of the
defendant;
(2) the need for the sentence imposed:
(A) to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;
(B) to afford adequate deterrence to criminal conduct;
(C} to protect the public from further crimes of the defendant; and
(D) to provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner;
(3) the kinds of sentences available;
(4) the advisory guideline range;
(5) any pertinent policy statements issued by the Sentencing Commission;
(6) the need to avoid unwarranted sentence disparities; and
(7) the need te provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). We respectfully submit that the following sentencing factors, when applied
to Mr. Houldsworth and the instant offense, warrant a non-custodial sentence, especially when
these factors are considered in combination.

A. Mr. Houidsworth’s Personal History and Characteristics, and the
Characteristics of the Offense, Warrant a Non-Custodial Sentence

Mr. Houldsworth’s personal history and characteristics justify a non-custodial
sentence: he is a first time offender, a devoted husband and family man, and a valued member of
his community. Mr. Houldsworth’s status as a deportable alien entails additional hardships for
him. Furthermore, there is no chance that he will engage in this type of criminal conduct in the
future. He has demonstrated exemplary acceptance of responsibility for his participation in the
LPT fraud, and has provided crucial assistance to the government in its prosecution of the other

participants in the fraud. The characteristics of the offense also support a non-custodial sentence

19
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 27 of 48

because Mr. Houldsworth was not motivated by personal financial gain in participating in the
LPT fraud and did not profit from it.

1. Mr. Houldsworth’s Personal History and Characteristics
a) Mr. Houldsworth’s Personal History

As illustrated by the 36 letters submitted to this Court by Mr. Houldsworth’s
family, friends, and colleagues, Mr. Houldsworth has lived a life dedicated to family, career, and
community. For more than 20 years, Mr. Houldsworth has been a devoted husband to his wife,
Ruth. (Letter of Ruth Houldsworth, Ex. 14.) Mr. Houldsworth has been a loving and constant
father to his three children, Nicholas, Alice, and Victoria. Since the birth of his children, Mr.
Houldsworth has been the sole financial provider for the family, and is close to his children and
involved in their lives to an extraordinary degree. (Letter of Ruth Houldsworth, Ex. 14.) Mr.
Houldsworth has been a much admired and highly respected leader in his profession, having
been elected by his peers in 1999 to a two year term as the Chair of the Dublin Insurance
Managers Association. Mr. Houldsworth is a pillar in his community, volunteering his time in
works both great and small. (Letter of Graham Gibson, Ex. 11.) Throughout his life, from his
years as a student in Quaker school to his time as a leader in the reinsurance industry to his
acceptance of responsibility and decision to cooperate with the government in the present
criminal matter, Mr. Houldsworth has strived to do the right thing. (Letter of David
Houldsworth, Ex. 13.)

Growing up, while their father was serving in the British foreign service, Mr.
Houldsworth and his siblings, David and Susan, attended boarding school in the UK. (Letter of
David Houldsworth, Ex. 13.) As David notes, in their father’s absence, Mr. Houldsworth was
David’s best friend and mentor, “steppfing] in to help [him] get over the tough times.” (Letter of

David Houldsworth, Ex. 13.) Susan states that Mr. Houldsworth has been a great influence on

20
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 28 of 48

her and “a continual source of inspiration” in many areas of her life, (Letter of Susan
Houldsworth, Ex. 15.)

Mr. Houldsworth has also been a mentor to friends and colleagues alike. As just
one example, Gregory Kim, a former colleague of Mr. Houldsworth at Gen Re, states that Mr.
Houldsworth “has been and still is the most influential person ... both professionally and
personally” Mr. Kim has known. (Letter of Gregory Kim, Ex. 19.)

Mr. Houldsworth has been a very caring and supportive co-worker and boss. It is
clear from the letters that Mr. Houldsworth was treasured by his colleagues and employees. The
community feeling and collegial nature of the Dublin office Mr. Houldsworth built was truly
extraordinary. Raif Quick, a former employee, states that Mr. Houldsworth strove to create a
“positive, friendly and open office culture.” (Letter of Ralf Quick, Ex. 29.) Mr. Houldsworth’s
former employee Arno Junke states that Mr. Houldsworth was a “hard working, team-oriented
manager” with a “sincere interest in people.” (Letter of Arno Junke, Ex. 16.) For Mr.
Houldsworth, one of the most difficult and heart-breaking consequences of his mistakes is the
fact that the office he built and the unique family feeling cultivated in that office no longer exist
because Gen Re closed the CRD office as a result of the present criminal matter. (Letter of Ruth
Houldsworth, Ex. 14.)

It also is clear from the letters that Mr. Houldsworth is greatly appreciated by his
current employer. Catherine Ghose, his current boss, points out that Charles MeCann
Investments, for whom Mr. Houldsworth is now a financial controller, is getting a bargin on him,
stating that the company does “not pay him what we would have to pay for a man of his caliber if

this court case had not occurred.” (Letter of Catherine Ghose, Ex. 10.)

21
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 29 of 48

An avid sportsman — a one-time player of field hockey, he now volunteers as a
coach to youth teams in his community and is a passionate golfer - Mr. Houldworth has a
tremendous sense of fairness both on the hockey pitch and on the golf course. (Letter of Graham
Gibson, Ex. 11; Letter of Gordon Watkins, Ex. 36) One dear friend of Mr. Houldsworth, from
the Houldsworth family’s two years living in Connecticut, recounts a story in which Mr.
Houldsworth missed out on his best opportunity to shoot par by accidentally tapping the ball
when addressing a putt ~ a mis-hit which no one but Mr. Houldsworth had seen. (Letter of
Michael J. Cascio, Ex. 7.)

Mr. Houldsworth’s sense of integrity is not limited to his reputation on the
playing field. Christopher McCann, a friend and former employee who recommended Mr.
Houldsworth for his current job, stated that he had no hesitation in recommending Mr.
Houldsworth for a “trusted position of money management” within Mr. McCann’s own family
business. (Letter of Christopher McCann, Ex. 22; Letter of Carl McCann, Ex. 21.) Neil Stone-
Wigg, a friend of Mr. Houldsworth’s and the founder of a 2.9 million Euro a year information
and communication technology company in Dublin employing 25, has provided in his will that
John become the manager of the company in the event that Mr. Stone-Wigg and his wife were to
die at the same time. (Letter of Neil Stone-Wigg, Ex. 33.)

Mr. Houldsworth also has earned the esteem of the many people in his circle with
his ability to maintain a positive outlook, to provide emotional and financial support to his
family, and to give back to his community in significant ways during these past four years while
he has been a defendant in this action. (Letter of Ruth Houldsworth, Ex. 14; Letter of Charles
and Margaret Schaeffer, Ex. 31; Letter of Andrew Morris, Ex. 25; Letter of Eileen Murphy, Ex.

26; Letter of Philip and Christine Barnes, Ex. 3.) During these last several years, Mr.

22
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 30 of 48

Houldsworth has impressed his friends with his ability to be a source of comfort and a confidant
to them in their times of need. As described by Christopher Sykes, a friend and former colleague,
Mr. Houldsworth stood by Mr. Sykes following the tragic death of Mr. Sykes’s wife to cancer in
2005. (Letter of Christopher Sykes, Ex. 34.) In the years leading up to Mrs. Sykes’s passing, the
Houldsworths provided meals, transportation, childcare, and emotional support to the Sykes
family. As Mr. Sykes describes it, “At my time of greatest need, John Houldsworth was there
for me. [...] He was my confidant, my compass, the voice of reason that kept me on track that
allowed me to get through what I needed to do to be there for Sarah and my children.” (Letter of
Christopher Sykes, Ex. 34.) In 2005, Mr. Houldsworth was also there for his friend Andrew
Baddeley at the time of the unexpected death of Mr. Baddeley’s mother. As noted by both Mr.
Sykes and Mr. Baddeley, Mr. Houldsworth stood by his friends and was a source of comfort and
support for them despite the tremendous difficulties he himself was facing in the present criminal
matter. (Letter of Andrew Baddeley, Ex. 2; Letter of Christopher Sykes, Ex. 34.)

Mr. Houldsworth is a rock for his family, financially, emotionally, and morally.
As exhibited in letter after letter submitted to this Court, Mr. Houldsworth’s life has been
dedicated to the well-being of his family, and his family in turn relies on Mr. Houldsworth to an
exceptional degree. One consequence of this reliance is that Mr. Houldsworth’s family faces a
daunting and highly uncertain future, both with respect to its financial stability and its emotional
strength, as a result of the present criminal matter. (Letter of Ruth Houldsworth, Ex. 14.) At
present, the Houldsworth family, although they have suffered serious setbacks, are beginning to
look to a better, more stable future. Though less well off than they once were — as a result of Mr.

Houldsworth’s curtailed earning potential and the seizure by Gen Re of his retirement savings —

23
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 31 of 48

the Houldsworth family is beginning to put the last several years behind them and is starting to
rebuild their lives.

In addition to the financial strains, Mr. Houldsworth and his family have suffered
severe and possibly irreparable reputational harm as a result of the substantial press coverage of
this high-profile criminal matter and the prominent role played by Mr. Houldsworth at trial.
Catherine Ghose, Mr. Houldsworth’s current boss, describes the regular reporting on Mr.
Houldsworth in the “Irish newspaper of record,” the Irish Times,’ noting that she was aware of
the present criminal matter from the newspaper reports before she met Mr. Houldsworth. (Letter
of Catherine Ghose, Ex. 10.) Enda Allen states that Mr. Houldsworth “was pilloried in the Irish
media and suffered greatly from his lost reputation.” (Letter of Enda Allen, Ex. 18.) John
Moran relates that the Irish press’s “demoniz[ation]” of Mr. Houldsworth had a “very
unfortunate side effect” on the Houldsworth family. (Letter of John A. Moran, Ex. 24.) Such
intense media scrutiny would be difficult for any family that values privacy as the Houldsworths
do. In a country as small as Ireland, however, with a population of less than 5 million,
unrelenting media coverage of Mr. Houldsworth and his mistakes have been almost unbearable
for him, for his wife, and for his children.

We submit that a custodial sentence for Mr. Houldsworth, or the imposition of a
significant fine, would halt the family’s rebuilding process in its tracks, just when Mr.

Houldsworth and his family are beginning to see a better future ahead.

While Mr. Houldsworth and the present criminal matier have received media coverage in the United States,
the scrutiny to which Mr. Houldsworth, the only Ireland-based co-defendant in this action, has been
subjected in the Irish press has been extraordinary in both quantity and harshness. The defense points the
Court to just a small sample of the coverage in Ireland’s main newspaper, the Irish Times: Justin O’Brien,
“After hubris always comes catastrophe,” Irish Times, Feb. 09, 2009; Arthur Beesley, “Guilty Plea move
results in Cologne Re Sacking,” Irish Times, June 8, 2005; Arthur Beesley, “Cologne Re chief ‘created
false documents’ — US lawsuit,” Irish Times, May 27, 2005.

24
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 32 of 48

b) Mr. Houldsworth’s Status as a Deportable Alien

In the event that the Court decides to impose a non-Guidelines sentence, the Court
should consider Mr. Houldsworth’s status as a deportable alien, which likely would result in any
prison term he received being harsher and longer than that of an ordinary inmate.'’ Although
Mr. Houldsworth does not live, work, or otherwise have any regular contact with the United
States, he has voluntarily traveled to the United States to plead guilty in this criminal action,
cooperate with the government, and be sentenced by this Court. Under United States
immigration laws, however, once he arrives in the United States to serve any term of
imprisonment, Mr. Houldsworth is classified as a “deportable alien.” The term deportable alien
merely means that a person is an alien (i.¢., not a citizen) and that he is subject to deportation.
See Bureau of Prisons, Program Statement 5100.07 (Sept. 3, 1999) (“BOP PS 5100.07”) at 3”
(“A ‘Deportable Alien’ is a male or female inmate who is a citizen of a foreign country, rather
than the United States.”); 18 U.S.C. § 1227(a)(2)(A)() (providing that an alien “convicted of a
crime involving moral turpitude committed within five years” and “convicted of a crime for
which a sentence of one year or longer may be imposed, is deportable”); 18 U.S.C. § 371

(providing for a maximum term of five years imprisonment for a conviction).

i Mr. Houldsworth’s status as a deportable alien presents hardships for Mr. Houldsworth and his family in

addition to those discussed here. Mr. Houldsworth’s ability to reenter the United States imposes a
significant constraint on his current and future employment prospects given the international orientation of
his profession. In addition, Mr. Houldsworth’s inability to reenter the United States also places a strain on
the strong ties Mr. Houldsworth has with the many United States citizens he counts as close personal
friends. Lastly, in light of Mr. Houldsworth’s status as a non-United States citizen, a sentence of
incarceration would be unduly burdensome on Mr. Houldsworth, The administrative process for
transferring Mr. Houldsworth to serve his prison sentence in Ireland could very well take between 18 to 24
months. Therefore, any custodial sentence of Mr. Houldsworth of 12 to 18 months or less would render
Mr. Houldsworth’s transfer to Ireland moot, resulting in him serving his sentence in the United States, far
from his wife and children in Ireland.

Chapter 7 of the Bureau of Prisons Program Statement 5100.07, dated September 3, 1999, is attached
hereto at Exhibit 39. Page numbers referenced herein refer to page numbers within Chapter 7 of the
Program Statement.

25
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 33 of 48

Mr. Houldsworth’s status as a deportable alien has severe negative consequences
under standard Federal Bureau of Prisons (“BOP”) regulations. Deportable aliens, unlike other
inmates in the general population, are not eligible for community confinement programs or
“CCCs.” Compare 18 U.S.C. § 3624(b) (providing that inmates may serve up to the last six
months of their sentence in community confinement programs) with BOP PS 5100.07, Ex. 39, at
3 (providing that deportable alien status “also prevents placement m a CCC”).

In addition, deportable aliens cannot be designated as “minimum security”
inmates or assigned to minimum security facilities. See 18 U.S.C. § 3621(b) (empowering the
BOP to “designate the place of the prisoner’s imprisonment”); BOP PS 5100.07, Ex. 39, at 3
(providing that deportable aliens “shail be housed in at least a Low security level institution”);

see also United States v. Cubillos, 91 F.3d at 1344 (9th Cir. 1996) (“The Bureau has determined

that a prisoner’s “deportable alien’ status is a Public Safety Factor requiring increased safety
measures,”’). The increased security designation would mean that Mr. Houldsworth would serve
his time with inmates that have committed violent crimes, including sex offenders. See BOP PS
5100.07, Ex. 39, at 7.

Finally, there is a real possibility that pending deportation, Mr. Houldsworth
could serve a substantial amount of time in prison after his sentence is complete. Although the
duration of removal proceedings varies among the United States’ 214 immigration judges,
significant backlogs exist across the country. A recent investigation indicated that immigration
courts are so backed up that over the last five years nearly 90,000 people in deportation
proceedings waited more than two years before they appeared before a judge.'° In certain areas,

such delays extend for up to five years. Thus, Mr. Houldsworth’s status as a deportable alien

8 Brad Heath, “Immigration Courts Face Huge Backlog,” USA Today, March 29, 2009.

26
Case 3:06-cr-00211-CFD Document44 _ Filed 06/02/09 Page 34 of 48

could result in any custodial sentence he may receive from this Court being years longer than the
sentence imposed by this Court.

Although the Second Circuit Court of Appeals has held that consequences derived
from a defendant’s status as a deportable alien such as post-imprisonment detention pending
deportation and limitations on how deportable aliens may be designated are not permissible

grounds for issuing a downward departure, see United States v. Restrepo, 999 F.2d 640, 644-47

(2d Cir. 1993), this Court may consider these factors in the context of a non-Guidelines sentence.
A number of federal appellate courts have recognized that a defendant’s status as a deportable
alien, given the harsher treatment such defendants face under BOP regulations, provides a sound
basis for a court to order a sentence less than that mandated by the Guidelines. See United States
v.. Davoudi, 172 F.3d 1130, 1133-34 (9th Cir. 1999) (finding that where defendant was convicted
of making false statements to a bank, the district court had discretion to order a downward
departure from the Guidelines because deportable.alien may be unable to take advantage of
minimum security designation of the up to six months of home confinement authorized by 18
U.S.C. § 3642(c)); Cubillos, 91 F.3d at 1344 (9th Cir. 1996) (acknowledging that a court may
consider a defendant’s status as a deportable alien when deciding whether to order a downward

departure from the Guidelines); United States v. Farouil, 124 F.3d 838, 847 (7th Cir. 1997)

(‘“{D]istrict court[/s are] ... free to consider whether [defendant's] status as a deportable alien has
resulted in unusual or exceptional hardship in his conditions of confinement.”); United States v.
Tanellus, 201 F.3d 439 (Table), 1999 WL 1008982, at *2 (4th Cir. Nov. 8, 1999) (same).

In addition, several district courts have imposed a lesser sentence than what was
mandated under the Guidelines based on alien status in cases where that status caused increased

‘severity in punishment. For example, in United States v. Bakeas, the court ordered a

27
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 35 of 48

probationary sentence and home confinement to a permanent resident alien who had lived in the
United States for 20 years. 987 F. Supp. 44, 51-52 (D. Mass. 1997). The court reasoned that the
case was outside the heartland because while Bakeas’s alien status meant that defendant would
have to serve his time in a medium security facility in another state, whereas judges routinely
sentence citizens convicted of the same offense (bank embezzlement) to minimum security
prison camps or local community treatment centers for their entire confinement period. Id, at 46-
52.

Similarly, in United States v. Roberts, the court found that “[a] deportable alien

convicted of a crime is generally subjected to a harsher term of confinement solely because of his
status as a deportable alien. Such a sentenced prisoner is not eligible for minimum security
confinement or early release to a halfway house.” No. Crim. 01-25101, 2002 WL 32341803, at
+3 (E.D. Pa. Mar. 4, 2002). The Roberts court ordered a downward departure from the
Guidelines on the basis of Roberts’s status as a deportable alien because “his incarceration would
be harsher than other inmates similarly situated who are not deportable aliens.” Id.

In this case, Mr. Houldsworth’s status as a deportable alien counsels for a
probationary sentence. Mr. Houldsworth should not be punished for voluntarily traveling to a
foreign country to accept responsibility for his actions. Rather, in order to encourage future
potential cooperating witnesses, this Court should amply reward him for placing his trust in the
United States criminal justice system and coming here voluntarily to subject himself to an
uncertain fate. Accordingly, because his immigration status as a deportable alien subjects him to
harsher conditions of confinement and potentially a longer term of confinement, this Court

should sentence Mr. Houldsworth to a non-Guidelines sentence of probation.

28
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 36 of 48

2. Mr. Houldsworth’s Acceptance of Responsibility

Throughout the course of the government’s investigation and prosecution of
individuals involved in the LPT fraud, Mr. Houldsworth demonstrated an extraordinary degree of
acceptance of responsibility. In addition to Mr. Houldsworth’s extensive assistance to the
government, detailed in Section IV supra, Mr. Houldsworth’s admission that the LPT was
deceptive and wrong, as exhibited by the plea agreement he entered into with the government
under which he agreed to plead guilty and cooperate with the government’s investigation of the
LPT fraud by providing “full, complete and truthful cooperation” (Plea and Cooperation
Agreement, Ex. 40, at 7.), and his guilty plea itself, support a non-custodial sentence.

As part of the plea agreement, Mr. Houldsworth agreed to a statement of facts
which detailed the full scope of his involvement in the LPT fraud. (Statement of Facts, Ex. 41.)
In addition, Mr. Houldsworth was the first of his co-conspirators to accept responsibility for his
actions by executing a plea agreement with the government, and the first of his co-conspirators to
enter a guilty plea.

3. Mr. Houldsworth’s Substantial Assistance to the Government

In the event the Court decides to impose a non-Guidelines or “variance” sentence
under 18 U.S.C. § 3553, the Court can and should consider the substantial assistance that Mr.
Houldsworth provided to the government in its investigation and prosecution of the individuals

involved in the LPT fraud, as outlined in Section IV above,"4

4 Some courts consider substantial assistance as part of a non-Guidelines or variance sentence, See, ¢.¢.,

United States v. Alatsas, No. 06-CR-473 (IBW), 2008 WL 238559, at *2 (E.D.N.Y. Jan. 16, 2008}
(considering substantial assistance as part of non-Guidelines sentence); United States v. Smith, No. 06-CR-
173 GBW), 2008 WL 4662346, at *1 (E.D.N.Y. Oct. 28, 2008) (departing from Guidelines and imposing
variance sentence due to defendant’s substantial assistance); United States v. McKillop, No. 06-CR-336
(IBW), 2008 WL 4862381, at *1 (E.D.N_Y. Sept. 8, 2008) (same). Other courts first depart from the
Guidelines based on substantial assistance, and then grant a variance from the departure sentence based on
other non-Guidelines factors. See, ¢.g., United States v. Woeht, No. 3:CR-04-100, 2008 WL 4722508, at
*1 (MLD.Pa. Oct. 23, 2008); United States v. Miller, No. 2:07-cr-90-FTM-295PC, 2008 WL 697359, at *2

Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 37 of 48

4, The Nature and Characteristics of the LPT Fraud”

The nature and characteristics of the LPT Fraud have been discussed in detail in
Section [V above. It should be added, however, that, as this Court has stated in connection with
sentencing Mr. Houldsworth’s co-conspirators, the LPT fraud is substantially different from
many securities fraud cases, including Enron, WorldCom, and Adelphia. In this case, Mr.
Houldsworth and his co-defendants did not receive any direct personal financial gain from the
LPT transaction, and were not motivated by such gain in entering into the LPT transaction, a
factor that courts have, in the context of a Guidelines sentence, held to warrant a downward

departure pursuant to U.S.S.G. § 2B1.1 (cmt. 19(c)). United States v. Forchette, 220 F. Supp. 2d

914, 925 (E.D. Wis. 2002). Mr, Houldsworth received no financial benefit from the LPT, and he
expected to gain nothing from it. He repeatedly indicated that he did not care whether the
company for which he worked, CRD, gained anything from it. (Trial Tr., Ex. 37, 2494-97
(arguing that CRD should get less of the fee).) Mr. Houldsworth erred when he agreed to help
Ms. Monrad and others in crafting the LPT, but certainly he did not do so out of greed."®
Second, the offense, while certainly serious, did not bring about the collapse of
_AIG, a large public company. The offense occurred, and was revealed to the public, weil before

the recent serious economic downtum that has affected a number of large public financial

(MLD. Fla. Mar. 13, 2008). In any event, this Court may consider both substantial assistance and other
“non-Guidelines” or “variance” factors when fashioning its sentence for Mr. Houldsworth.

With respect to background regarding the offense, we respectfully refer the Court to the Agreed Statement
of Facts, Ex. 41, the recitation of the offense conduct contained in the PSR, Ex. 38, and Mr. Houldsworth’s
testimony at the trial of his co-conspirators.

As the Court is aware, this factor was critical to the Court’s decision to sentence Mr. Houldsworth’s co-
conspirators to sentences substantially less than their respective Guidelines sentences. While Mr. ,
Ferguson, Mr, Milton, Mr. Garand, Ms. Monrad, and Mr. Graham faced sentences of up to life in prison,
the Court, citing the co-conspirators’ lack of personal gain in the LPT fraud, imposed custodial sentences
upon these co-conspirators of 2 years, 4 years, | year and a day, | year and a half, and 1 year and a day,
respectively,

30
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 38 of 48

institutions, including AIG, As this Court has noted in connection with the sentencing of Mr.
Houldsworth’s co-conspirators, the LPT was not a fraud that caused the collapse of AIG.

B. A Non-Custedial Sentence Would Promote Respect for the Law, Provide Just
Punishment, and Satisfy the Needs of General and Specific Deterrence

1. Promoting Respect for the Law, Rewarding Cooperation, and
Providing Just Punishment

In volunteering to come to the United States to plead guilty, cooperate with the
- government, and be sentenced, Mr. Houldsworth has demonstrated ample respect for the law.
Given his extraordinary acceptance of responsibility for his own actions, and the trust he has
placed in the United States criminal justice system, a non-custodial sentence would promote
respect for the law by rewarding cooperating defendants like Mr. Houldsworth for doing the
right thing.

The touchstone for just punishment is a sentence that is sufficient, but not greater
than necessary, to serve the purposes of sentencing. Kimbrough, 128 S. Ct. at 570; 18 U.S.C. §
3553(a). In this case, we respectfully submit that a non-custodial sentence would be the only just
punishment for Mr. Houldsworth. Any notion that Mr. Houldsworth would be somehow “getting —
off the hook” by not going to jail is wrong. Mr. Houldsworth has been branded a felon, which is
a stain that can never be removed, He has had to confess to his three children that he committed

a fraud and is now and forever a felon. See United States v. Myers, 353 F. Supp. 2d 1026, 1031

(S.D. Iowa 2005) (sentencing defendant to time served rather than Guidelines range of 20 to 30

months for unlawful possession of an illegal firearm, stating that once a defendant is convicted,

the defendant has been branded a felon and being known as such by family, friends, and society
is “no small punishment” for one known for high moral standards and character). As a result of
Mr. Houldsworth’s voluntary guilty plea, he was fired from his job, lost most of his retirement

savings (which were seized by Gen Re) and was subject to the humiliation of negative press in

31
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 39 of 48

the United States and Ireland. During the almost four years since he pled guilty, he has had to
endure the constant dread of a possible term of incarceration in the United States that would
forcefully remove him from his family. In addition, as a direct result of his guilty plea, Mr.
Houldsworth has been named as a defendant in four pending civil suits: In re American Int’]

Group Sec. Litig., No. 04-cv-8141-JES (S.D.N.Y,) (filed Oct. 15, 2005); In re American Int’}

Group, Inc. Derivative Litig., No. 04-cv-8406 (JES) (S.D.N.Y.) (filed Oct. 25, 2004); American
Int?] Group, Inc. Consol. Derivative Litig., C_.A. No. 769 (VCS) (Del. Ch.) (filed Oct. 21, 2004);

Teachers’ Ret. Svs. of La and City of New Orleans Employees’ Ret. Svs, v. Cantwell, et al., No.

650064/2009 (BF) (N.Y. Sup. Ct.) (filed Feb. 11, 2009); and is a defendant in a case brought by

the Securities and Exchange Commission (S.E.C. v. Houldsworth, No. 05-cv-5325 (LAP)

(S.D.N.Y.) (filed June 6, 2005)); and is subject to other administrative actions. In addition, once
this case is concluded, regardless of his sentence, it is highly likely that Mr. Houldsworth will
never again be allowed entry into the United States.

Furthermore, viewed in comparison to the sentences imposed on his co-
defendants who received non-Guidelines sentences that varied substantially from the prescribed
imprisonment ranges, imposing a sentence of imprisonment would fail to reward Mr.
Houldsworth for the cooperation and assistance he has provided to the government. Courts in
this Circuit have consistently recognized the importance of rewarding defendants who cooperate

with the government. See, ¢.g., United States vy, Boscarino, 437 F.3d 634, 638 (2d Cir. 2006);

United States v. John Doe, 79 F.3d 1309, 1316 (2d Cir. 1996). In this instance, a non-custodial
sentence would serve to reward Mr. Houldsworth for his substantial cooperation with the

government.

32
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 40 of 48

Finally, a sentence of incarceration would be unjust punishment because it would
fail to account for the substantial distinction between Mr, Houldsworth, who accepted
responsibility for his actions and provided substantial assistance to the government, and his
fellow conspirators, who did just the opposite and forced the goverment to expend its valuable
resources to make its case to a jury in a lengthy trial.

2, General Deterrence

A sentencing court also must consider the need for the sentence imposed to
“afford adequate deterrence to criminal conduct.” 18 U.S.C. § 3553(a\(2)(B). Courts have
recognized that criminal convictions in high-profile white-collar cases, irrespective of the
sentences imposed, have a substantial deterrent effect on other similarly situated individuals. The
publicity associated with such convictions serves to deter similar crimes such that a substantial
sentence of incarceration is not necessary to serve this goal of federal sentencing. Additionally,
courts have recognized “considerable evidence that even relatively short sentences can have a
strong deterrent effect on prospective ‘white collar’ offenders.” Adelson, 441 F. Supp. 2d at 514

{citing Richard Frase, Punishment Purposes, 58 Stan. L. Rev. 67, 80 (2005); Elizabeth Szockyj,

Imprisoning White-Collar Criminals?, 23 8. Il. U. LJ. 485, 492 (1998).

In this case, the Court has already sentenced five of Mr. Houldsworth’s co-
conspirators to substantial terms of incarceration, which will undoubtedly have a deterrent effect.
See Gail, 128 S. Ct. at 599 (“The Government's legitimate concern that a lenient sentence for a
serious offense threatens to promote disrespect for the law is at least to some extent offset by the
fact that seven of the eight defendants in this case have been sentenced to significant prison

terms.”’),

33
Case 3:06-cr-00211-CFD Document44 _ Filed 06/02/09 Page 41 of 48

3. Specific Deterrence

In determining an appropriate sentence, courts must also consider the need for the
sentence to “protect the public from further crimes of the defendant.” 18 U.S.C. § 3553(a)(2)(C).
In Mr. Houldsworth’s case, there is no chance of recidivism.

Courts have stated that a key indicator of the likelihood of recidivism is the
defendant’s age at the time of sentencing. Mr. Houldsworth will be 50 years old when he is
sentenced. A non-Guidelines sentence is appropriate in the case of an older first-time offender
because the Sentencing Guidelines do not take into account the fact that defendants who are over
the age of forty “exhibit markedly lower rates of recidivism in comparison to younger
defendants.” United States v. Carmona-Rodriguez, No. 04 CR.667 (RWS), 2005 WL 840464, at
*4 (S.D.N.Y. Apr. 11, 2005) (citations omitted) (imposing a non-Guidelines sentence of 30
months rather than a sentence within the Guideline range of 46 to 57 months, in part because

defendant was a 55-year-old first offender).'’ As the court stated in Simon, “[t]he Guidelines’

failure to account for [the correlation between increased age and decreased recidivism rates]
renders it an imperfect measure of how well a sentence protects the public from further crimes of
the defendant.” 361 F. Supp. 2d at 48.

Another key factor affecting the likelihood of recidivism is criminal history. Mr.
Houldsworth is a first-time offender, who immediately and completely accepted responsibility
for his conduct in this case, who has spent the past several years cooperating with the
government, and who has clearly demonstrated remorse for his actions in connection with the

LPT fraud. The letters submitted on Mr. Houldsworth’s behalf make abundantly clear that Mr.

” See also United States v. Hernandez, No. 03 CR. 1257 (RWS), 2005 WL 1242344, at *5 (S.D.N.Y. May
24, 2005) (imposing non-Guidelines sentence on 49-year-old defendant in part because defendants over 40
“exhibit markedly lower rates of recidivism in comparison to younger defendants”); United States v. Kee,
No. 04 CR. 271 (RWS), 2005 WL 1162449, at *4 (S.D.N.Y. May 13, 2005) (imposing non-Guidelines
sentence in part due to fact that defendant was first time offender); Simon, 361 F. Supp. 2d at 49
(sentencing 43-year-old defendant to lower non-Guidelines sentence).

34
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 42 of 48

Houldsworth is not a criminal from whom the public needs protection, and there is no chance of
recidivism in this case. Accordingly, this factor weighs in favor of a non-Guidelines, non-
custodial sentence.

Indeed, the PSR specifically counsels that a term of incarceration is not necessary.
The PSR states that “Mr. Houldsworth is a first-time offender, with stable personal and
employment histories. There is nothing in his past to indicate that he [has] ever been anything
other than a law abiding citizen. It appears highly unlikely based on the information available at
this time that he will be involved in future criminal conduct. Given this information, any of the
available sentencing options [including probation] will adequately address all the factors to be
taken into consideration in the determination of an appropriate sentence.” (PSR, Ex. 38, 4 81.)
We respectfully concur, and urge the Court for these reasons alone to impose a non-custodial
sentence.

Cc. Probation Is an Available Sentence for Mr. Houldsworth

18 U.S.C. § 3553(a)(3) directs the judge to consider sentences other than

imprisonment. In this case, Mr. Houldsworth is eligible for probation.’® (PSR, Ex. 38, 9 74.)

Tt should be noted that despite Mr. Houldsworth’s status as a citizen of a foreign country, probation is an
available sentence to the Court. Under 18 U.S.C. § 4100, offenders may be transferred to and from a
foreign country to serve their sentences so long as a treaty providing for such transfer is in force. See 18
U.S.C. § 4100(a)-(b) (2009). The treaty providing for such a transfer as between the United States and
Ireland is the Council of Europe Convention on the Transfer of Sentenced Persons (“the Convention”),
which entered into force as between these countries on June 7, 1985. Under 18 U.S.C, § 4102, the Attorney
General of the United States is authorized to “transfer offenders under a sentence of imprisonment, on
parole, or on probation to the foreign countries of which they are citizens or nationals.” 18 U.S.C. §
4102(3) (2009) (emphasis added). While Mr. Houldsworth is a citizen of the United Kingdom and not of
ireland, under article 3(4) of the Convention, a state may adopt its own definition of “national” for purposes
of the Convention. Council of Europe Convention on the Transfer of Sentenced Persons art. 3(4). In its
declaration of July 31, 1995, with respect to the Convention, Ireland defined “national” as an “Irish citizen
or any person whose transfer to [reland Ireland considers appropriate having regard to any close ties which
the person has with Ireland.” Declaration Contained in Instrument of Ratification Deposited on July 31,
1995, Mr. Houldsworth’s extensive ties with Ireland -- including the many years he has lived in Ireland; the
fact that his family lives in lreland; the fact that he owns property in Ireland; and Mr. Houldsworth’s
extensive work history in Ireland — constitute “close ties” with Ireland so as to warrant Mr. Houldsworth’s
status as an Irish national for purposes of the Convention. Thus, Mr. Houldsworth may serve a sentence of
probation issued by this Court in Ireland.

35
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 43 of 48

The offense to which he pled guilty, 18 U.S.C. § 371, carries a maximum term of five years’
imprisonment, a Class D felony. See 18 U.S.C. § 3559(a)(4). Because the offense is a Class D
felony, Mr. Houldsworth is eligible for probation, See 18 U.S.C. § 3561(a). The appropriate
term for a probationary sentence is one fo five years. See 18 U.S.C, § 3561(c)(1). In
determining whether to impose a term of probation, and if a term of probation is to be imposed,
the length of the term and the conditions of probation, the court shall consider the factors set
forth in 18 U.S.C, § 3553(a). See 18 U.S.C. § 3562. In light of the § 3553(a) factors discussed
above, defendant respectfully requests that the Court impose a sentence of one year of probation.

D. Sentencing Mr. Houldsworth to a Term of Probation Would Avoid
Unwarranted Sentencing Disparities

Courts must consider “the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §
3553(a)(6). Within the Second Circuit, a non-custodial sentence would not create a disparity
between Mr. Houldsworth and other defendants who conspired to commit fraud, who are also
first-time offenders, did not profit from their conduct, and provided substantial assistance to the
government,

Mr. Houldsworth’s sentence should also be compared to the sentences imposed by
the Court on his co-conspirators, The Court sentenced Mr. Ferguson to 2 years imprisonment, —
Mr. Milton to 4 years imprisonment, Ms. Monrad to 1 and a half years imprisonment, Mr.
Garand to 1 year and a day imprisonment, and Mr. Graham to 1 year and a day imprisonment. In
light of the sentences imposed on his co-conspirators, sentencing Mr. Houldsworth to any term
of incarceration would create an unwarranted similarity among defendants who are not similarly
situated. In Gall, the Supreme Court upheld the district court’s sentence of probation for the

defendant as reasonable even though his co-defendants received sentences ranging from 30 to 35

36
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 44 of 48

months. The Court ruled that the district court properly considered “the need to avoid
unwarranted similarities among other co-conspirators who were not similarly situated” since the
defendant had voluntarily withdrawn from the conspiracy and his co-defendants had not. Gall,
128 8. Ct. at 600, While Mr. Houldsworth and the other defendants committed essentially the
same offense conduct, any term of incarceration imposed on Mr. Houldsworth would fail to _
reflect that he, unlike his fellow co-conspirators, has demonstrated acceptance of responsibility,
respect for the law, and has provided substantial assistance to the government.

E. There is No Need to Provide Restitution in this Case

This Court has ruled that restitution is not applicable in this case. See October 31
Ruling. Based on the foregoing, if the Court chooses to impose a non-Guidelines sentence, the
Court should sentence Mr. Houldsworth to one year of probation

VIL FINE

Under 18 U.S.C, § 3571, this Court may sentence Mr. Houldsworth to a fine of up
to $250,000. 18 U.S.C. § 3571(b)(3) (2007). In determining whether to impose a fine and, if so,
the amount of that fine, the Court must consider the factors set forth in Section 3553(a) as well as
the following: (1) the defendant’s income, earning capacity, and financial resources; (2) the
burden that the fine will impose upon the defendant and anyone financially dependant upon the
defendant; (3) any pecuniary loss inflicted upon others as a result of the offense: (4) whether
restitution is ordered; (5) the need to deprive the defendant of illegally obtained gains from the
offense; (6) the expected costs to the government of any imprisonment or probation; and (7)
whether the defendant can pass on to consumers or other persons the expense of the fine. 18
ULS.C. § 3572(a}(1)-(7) (2007). In selecting an appropriate fine, we respectfully request that the
Court, in addition to the Section 3553(a) factors that have been discussed in detail above,

consider the following Section 3572 factors in ordering that no fine be paid by Mr.

37
Case 3:06-cr-00211-CFD Document44 _ Filed 06/02/09 Page 45 of 48

Houldsworth": (1) his income, earning capacity, and financial resources; (2) the burden that a
fine would impose upon him and his family; (3) the fact that he did not obtain any illegal gains
from the offense; and (4) the fact that the savings obtained by the government through his
substantial cooperation and assistance would offset the cost to the government of any
imprisonment or probation imposed. We respectfully submit that these factors warrant a
sentence of no fine in Mr. Houldsworth’s case, an outcome upheld by courts as a reward for

cooperators. See, e.g., United States v. Normand, 02 Cr. 1341 (BSJ), at 12 (S.D.NLY. Aug. 5,

2005) (sentencing WorldCom co-defendant cooperator to three years probation and no fine); see

also United States v. Morison, 1993 WL 59331, Nos. 92-10121, at *3 (9th Cir. March 5, 1993)

(affirming lower court sentence including no fine given in order to reward defendant for his
cooperation). Ifthe Court finds that a fine for Mr. Houldsworth is warranted, we respectfully
request that only a nominal fine be imposed.

A. Mr. Houldsworth’s Diminished Income, Earning Capacity, and Financial
Resources Warrant A Sentence of No Fine

As reflected in the PSR, Mr. Houldsworth and his family are presently
experiencing substantial financial difficulties. (PSR, Ex. 38, | 68.) His income and earning
capacity have been severely curtailed as a result of his guilty plea and this criminal proceeding.
Following his guilty plea, Mr. Houldsworth was fired from his job and lost most of his retirement
savings, which were seized by Gen Re. Furthermore, the recent economic crisis has taken its toll
on Mr. Houldsworth and his family’s financial well-being. In particular, the present economic
crisis has significantly eroded the value of his family’s single remaining asset, their home. (PSR,

Ex. 38, 68.) Further, recent changes in the Irish tax code have significantly increased Mr.

8 In the interest of brevity, we discuss here only those Section 3572 factors relevant to Mr. Houldsworth’s

case,

38
Case 3:06-cr-00211-CFD Document 44 Filed 06/02/09 Page 46 of 48

Houldsworth’s tax obligations, further complicating his ability as the sole wage earner to a
family of five, to provide for his family.

B. The Substantial Burden a Fine Would Impose Warrants A Sentence of No
Fine

As described in detail above, Mr. Houldsworth is the sole financial supporter of
his family, consisting of his wife Ruth and his three teenage children. Because his earning
potential has been severely reduced as a result of his guilty plea, and the fact that most of his
savings was seized by Gen Re, any fine would impose an unwarranted and substantial burden
upon Mr. Houldsworth and his family. In addition, we request that the Court consider that he
faces potentially significant financial liability in a related civil enforcement action by the
Securities and Exchange Commission as well as in at least four shareholder derivative suits on
behalfof AIG. These actions against Mr. Houldsworth arise out of his participation in the LPT
transaction that was the focus of this case and expose him to potentially extraordinary, crippling
financial liabilities.

Cc. The Fact That Mr. Houldsworth Did Not Personally Profit From the Offense
Warrants A Sentence of No Fine

As described above, Mr. Houldsworth did not intend to and did not profit from
this transaction. Accordingly, a fine is not necessary to satisfy any of the purposes of sentencing. —
See U.S.S.G. § 5E1.2(d}(5) (in selecting appropriate fine, the court must consider “ctvil
obligations arising from defendant’s conduct”).

D. -The Savings Obtained by the Government As a Result of Mr. Houldsworth’s
Cooperation Warrants A Sentence of No Fine

The financial savings to the government that resulted from Mr. Houldsworth’s
cooperation weigh heavily against the mposition of a fine. Without his timely and thorough

cooperation, the cost to the government in investigating and prosecuting this complex

39
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 47 of 48

international fraud would have been substantially greater. We submit, therefore, that the Court
should consider these savings to the government when determining whether to impose a fine.
Courts in this Circuit and elsewhere have considered a defendant’s cooperation with the
government when deciding to impose a lesser fine than permitted by the Guidelines, See, e.g.,

United States v. DeRigei, 893 F. Supp. 171, 185 (E.D.N-Y. 1995) (cooperating beneficiary of

5K1.1 letter received fine at low end of Guidelines range); United States v. BCCI Holdings,
S.A., 3 F. Supp. 2d 31, 33 (D.D.C. 1998) (reviewing United States District Court for the Middle
District of Florida’s sentence in which, as a result of defendant’s cooperation, the defendant’s
sentence was reduced and much of his fine was remitted).

Given the totality of the present circumstances, imposing a fine on Mr.
Houldsworth is not only unnecessary, it would be unjust.

VILL CONCLUSION

For all of the foregoing reasons, and anticipated arguments of counsel, Mr.
Houldsworth respectfully requests that the Court impose on him a sentence of one year probation
with no fine.

Respectfully submitted,

By: /s/ Alex V. Hernandez

Alex V. Hernandez (ct08345) Larry Byme, (ct14295)

Pullman & Comiey, LLC Lance Croffcot-Suede, (phv01469)
300 Atlantic Street Ulysses 8. Smith, (us0127)
Stamford, CT 06901-3522 LINKLATERS LLP

Tel. 203 674 7952 1345 Avenue of the Americas

Fax 203 363 8659 New York, NY 10105

E-Mail: ahernandez@pullman.com Tel. 212 903 9000

Fax 212 903 9100

Attorneys for Defendant John Houldsworth |

40
Case 3:06-cr-00211-CFD Document 44 _ Filed 06/02/09 Page 48 of 48

CERTIFICATE OF SERVICE

{hereby certify that on this date a copy of the foregoing DEFENDANT JOHN
HOULDSWORTH’S SENTENCING MEMORANDUM was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

Bric J. Glover, Esq.

Assistant United States Attorney
United States Attorney’s Office
157 Church Street, 23rd Floor
P.O, Box 1824

New Haven, CT 06510

Tel. 203 821 3700

Fax 203 773 5373

E-Mail: eric.glover@usdoj.gov

Representing Office of United States Attorney

/s/ Alex V, Hernandez
Alex V. Hernandez (ct08345)

